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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 STA GROUP LLC,                                   §
                                                  §
          Plaintiff,                              §
                                                  §
 v.                                               §    CIVIL ACTION NO. 2:23-cv-30 -JRG-RSP
                                                  §
 MOTOROLA SOLUTIONS, INC.,                        §
                                                  §
          Defendant.                              §

                                    DOCKET CONTROL ORDER

           In accordance with the Joint Motion (Dkt. No. 32), it is hereby ORDERED that the

 following schedule of deadlines is in effect until further order of this Court:

  November 18, 2024            *Jury Selection — 9:00 a.m. in Marshall, Texas

  7 days before Jury           *Defendant to disclose final invalidity theories, final prior art
  Selection                    references/combinations, and final equitable defenses.1

  10 days before Jury          *Plaintiff to disclose final election of Asserted Claims.2
  Selection

  October 21, 2024             * If a juror questionnaire is to be used, an editable (in Microsoft Word
                               format) questionnaire shall be jointly submitted to the Deputy Clerk
                               in Charge by this date.3

  October 16, 2024             *Pretrial Conference — 9:00 a.m. in Marshall, Texas before Judge
                               Roy Payne



      1
       The proposed DCO shall include this specific deadline. The deadline shall read, “7 days
      before Jury Selection,” and shall not include a specific date.
      2
       Given the Court's past experiences with litigants dropping claims and defenses during or on
      the eve of trial, the Court is of the opinion that these additional deadlines are necessary. The
      proposed DCO shall include this specific deadline. The deadline shall read, "10 days before
      Jury Selection," and shall not include a specific date.
      3
       The Parties are referred to the Court's Standing Order Regarding Use of Juror
      Questionnaires in Advance of Voir Dire.
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     October 7, 2024         *Notify Court of Agreements Reached During Meet and Confer

                             The parties are ordered to meet and confer on any outstanding
                             objections or motions in limine. The parties shall advise the Court
                             of any agreements reached no later than 1:00 p.m. three (3) business
                             days before the pretrial conference.

     October 7, 2024         *File Joint Pretrial Order, Joint Proposed Jury Instructions, Joint
                             Proposed Verdict Form, Responses to Motions in Limine, Updated
                             Exhibit Lists, Updated Witness Lists, and Updated Deposition
                             Designations

     September 30, 2024      *File Notice of Request for Daily Transcript or Real Time Reporting.

                             If a daily transcript or real time reporting of court proceedings is
                             requested for trial, the party or parties making said request shall file
                             a notice with the Court and e-mail the Court Reporter, Shawn
                             McRoberts, at shawn_mcroberts@txed.uscourts.gov.

     September 26, 2024      File Motions in Limine

                             The parties shall limit their motions in limine to issues that if
                             improperly introduced at trial would be so prejudicial that the Court
                             could not alleviate the prejudice by giving appropriate instructions to
                             the jury.

     September 26, 2024      Serve Objections to Rebuttal Pretrial Disclosures

     September 19, 2024      Serve Objections to Pretrial Disclosures; and Serve Rebuttal Pretrial
                             Disclosures

     September 3, 2024       Serve Pretrial Disclosures (Witness List, Deposition Designations,
                             and Exhibit List) by the Party with the Burden of Proof

     August 26, 2024         *Response to Dispositive Motions (including Daubert Motions).
                             Responses to dispositive motions that were filed prior to the
                             dispositive motion deadline, including Daubert Motions, shall be due
                             in accordance with Local Rule CV-7(e), not to exceed the deadline
                             as set forth in this Docket Control Order.4 Motions for Summary
                             Judgment shall comply with Local Rule CV-56.



 4
  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
 oppose a motion in the manner prescribed herein creates a presumption that the party does not
 controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”


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  August 12, 2024      *File Motions to Strike Expert Testimony (including Daubert
                       Motions)

                       No motion to strike expert testimony (including a Daubert motion)
                       may be filed after this date without leave of the Court.

  August 12, 2024      *File Dispositive Motions

                       No dispositive motion may be filed after this date without leave of
                       the Court.

                       Motions shall comply with Local Rule CV-56 and Local Rule CV-7.
                       Motions to extend page limits will only be granted in exceptional
                       circumstances. Exceptional circumstances require more than
                       agreement among the parties.

  August 5, 2024       Deadline to Complete Expert Discovery

  July 22, 2024        Serve Disclosures for Rebuttal Expert Witnesses

  July 1, 2024         Deadline to Complete Fact Discovery and File Motions to Compel
                       Discovery

  July 1, 2024         Serve Disclosures for Expert Witnesses by the Party with the Burden
                       of Proof

  June 5, 2024         Comply with P.R. 3-7 (Opinion of Counsel Defenses)

  May 15, 2024         *Claim Construction Hearing — 9:00 a.m. in Marshall, Texas before
                       Judge Roy Payne

  May 1, 2024          *Comply with P.R. 4-5(d) (Joint Claim Construction Chart)

  April 24, 2024       *Comply with P.R. 4-5(c) (Reply Claim Construction Brief)

  April 10, 2024       Comply with P.R. 4-5(b) (Responsive Claim Construction Brief)

  March 20, 2024       Comply with P.R. 4-5(a) (Opening Claim Construction Brief) and
                       Submit Technical Tutorials (if any)

                       Good cause must be shown to submit technical tutorials after the
                       deadline to comply with P.R. 4-5(a).




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     March 20, 2024       Deadline to Substantially Complete Document Production and
                          Exchange Privilege Logs

                          Counsel are expected to make good faith efforts to produce all
                          required documents as soon as they are available and not wait until
                          the substantial completion deadline.

     March 13, 2024       File Response to Amended Pleadings

     March 6, 2024        Comply with P.R. 4-4 (Deadline to Complete Claim Construction
                          Discovery)

     February 28, 2024    *File Amended Pleadings

                          It is not necessary to seek leave of Court to amend pleadings prior to this
                          deadline unless the amendment seeks to assert additional patents.

     February 16, 2024    Comply with P.R. 4-3 (Joint Claim Construction Statement)

     January 26, 2024     Comply with P.R. 4-2 (Exchange Preliminary Claim Constructions)

     January 10, 2024     Comply with P.R. 4-1 (Exchange Proposed Claim Terms)

     August 30, 2023      Comply with Standing Order Regarding Subject-Matter Eligibility
                          Contentions5

     August 30, 2023      Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)

     June 20, 2023        *File Proposed Protective Order and Comply with Paragraphs 1 &
                          3 of the Discovery Order (Initial and Additional Disclosures)

                          The Proposed Protective Order shall be filed as a separate motion
                          with the caption indicating whether or not the proposed order is
                          opposed in any part.

     June 13, 2023        *File Proposed Docket Control Order and Proposed Discovery
                          Order

                          The Proposed Docket Control Order and Proposed Discovery Order
                          shall be filed as separate motions with the caption indicating whether
                          or not the proposed order is opposed in any part.



 5
  http://www.txed.uscourts.govisites/default/files/judgeFiles/EDTX%20Standing%20Order%20
 Re%20Subject%20Matter%20Eligibility%20Contentions%20.pdf [https://perma.cc/RQN2-
 YUSP]

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  June 6, 2023                Join Additional Parties

  May 16, 2023                Comply with P.R. 3-1 & 3-2 (Infringement Contentions)
 (*) indicates a deadline that cannot be changed without an acceptable showing of good
 cause. Good cause is not shown merely by indicating that the parties agree that the
 deadline should be changed.

                                ADDITIONAL REQUIREMENTS

         Mediation: While certain cases may benefit from mediation, such may not be appropriate
 for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
 benefit the case after the issuance of the Court's claim construction order. Accordingly, the Court
 ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
 mediation within fourteen days of the issuance of the Court's claim construction order. As a
 part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
 mediator for the Court to consider. If the Panics disagree about whether mediation is appropriate,
 the Parties should set forth a brief statement of their competing positions in the Joint Notice.

         Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
 Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
 the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
 exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
 must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
 business days after briefing has completed. For expert-related motions, complete digital copies of
 the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
 to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
 than the dispositive motion deadline.

         Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
 include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
 the local rules' normal page limits.

        Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
 “[o]n the first appearance through counsel, each party shall designate a lead attorney on the
 pleadings or otherwise.” Additionally, once designated, a party's lead attorney may only be
 changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
 an Order granting leave to designate different lead counsel. The true lead counsel should be
 designated early and should not expect to parachute in as lead once the case has been largely
 developed.

          Motions for Continuance: The following will not warrant a continuance nor justify a
 failure to comply with the discovery deadline:

 (a)    The fact that there are motions for summary judgment or motions to dismiss pending;




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 (b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
        unless the other setting was made prior to the date of this order or was made as a special
        provision for the parties in the other case;

 (c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
        was impossible to complete discovery despite their good faith effort to do so.

        Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
 the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
 include a proposed order that lists all of the remaining dates in one column (as above) and the
 proposed changes to each date in an additional adjacent column (if there is no change for a date
 the proposed date column should remain blank or indicate that it is unchanged). In other words,
 the DCO in the proposed order should be complete such that one can clearly see all the remaining
 deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
 version of the DCO.

        Proposed DCO: The Parties’ Proposed DCO should also follow the format described
 above under “Amendments to the Docket Control Order (‘DCO’).”
 .
          Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
 the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
 shall also specify the nature of each theory of infringement, including under which subsections of 35
 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
 infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
 theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
 written description, enablement, or any other basis for invalidity. The Defendant shall also specify
 each prior art reference or combination of references upon which the Defendant shall rely at trial,
 with respect to each theory of invalidity. The contentions of the Parties may not be amended,
 supplemented, or dropped without leave of the Court based upon a showing of good cause.

         Trial: All parties must appear in person at trial. All non-individual (including but not
 limited to corporate) parties must appear at trial through the presence in person of a designated
 representative. Once they have appeared, any representative of a non-individual party shall not be
 replacedSIGNED
          or substituted without
                    this 3rd day express leave2012.
                                 of January,   of Court.

         SIGNED this 14th day of June, 2023.




                                                        ____________________________________
                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE




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